                  UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                      DOCKET NO. 3:94cr17

           V.                                               ORDER

EDWARD HAROLD SAUNDERS, JR.
__________________________________________________________________________


  THIS MATTER IS BEFORE THE COURT on United States Attorney’s Motion, (Doc.
No. 426. ) Motion to Seal Document Exhibit I.

   IT IS ORDERED, that United States Attorney’s Motion (Doc. No.426 ) is GRANTED.



                                 Signed: October 5, 2021




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